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 1                                 DECLARATION OF COUNSEL

 2           I, Cuauhtemoc Ortega, declare:
 3           L I am an attorney with the Office of the Federal Public Defender for the
 4     Central District of California. I am licensed to practice law in the State of California
 5     and I am admitted to practice in this Court. Our office has been appointed to represent
 6     Todd Christian Hartman in United States v. Hartman, SA CR I5-63-JLS. I make this
 7     declaration in support of Defendant's Motion to Suppress Evidence ("motion").
 8           2.     Attached as Exhibit A to the motion is a true and correct copy of a
 9     "Personnel Assignments" chart. The chart was appended to a Department of Homeland
10     Security Enforcement Operation Plan, a document produced in discovery to the defense
11     by the government. The redactions on the document were made by the government
12     prior to disclosing the document to the defense; the defense did not alter the document.
13           3.     Attached as Exhibit B is true and correct copy of a sketch of Mr.
14     Hartman's apartment, which was prepared by law enforcement and appended to Return
15     to Search Warrant. The documents were produced in discovery to the defense by the
16     government. The defense has redacted the document to exclude the Hartman home
17     address, pursuant to the Local Rules.
18           4.     I redacted Mr. Hartman's declaration to exclude the Hartman home

19     address, pursuant to the Local Rules. The defense will separately file an under seal
20     unredacted copy of Mr. Hartman's declaration and Exhibit B.
21           5.     Attached as Exhibit C are still images captured from the videotaped
22     recording of my client's interview. The videotaped recording was produced by the
23     government in discovery. No alterations were made to the content of the image.
24
25        I declare under penalty ofperjury under the laws ofthe United States that the
2g     foregoing is true and correct to the best ofmy knowledge.
27

23     DATED: September 18, 2015.
                                                                   MOC ORTEGA
